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UN|TED STATES BANKRUPTCY COURT
FOR THE D|STR|CT OF COLOF\’ADO

ln re: )
)
11380 SNllTH RD LLC ) Case No.
ElN 46»4766309 ) Chapter 11
)
)

Debtor.

 

CERT|F|CATE OF CORPORATE RESOLUTION

 

This is to certify that l, Louis l-lard, Nlanager of 11380 Smith Rd LLC, am
authorized to make, execute, acknowledge, verify, seal and tile a Petition under Chapter
11 of the United States Bankruptcy Code and the necessary schedules and other
documents and schedules accompanying the same on behalf of the LLC;

The LLC is authorized to retain the law firm cf Weinman & Associates, P.C.,
as counsel in connection with the foregoing; and

The Nlanager is authorized to make such necessary arrangements for the
payment of counsel's fees, expenses and costs as the situation requires, and to do any and
all other acts and things being necessary, proper or advisable in connection With the
foregoing

lN WlTNESS WHEREOF, l have hereunto set my hand on behalf of 1 1380
Smith Rd LLC.

11380 Smith Rd LLC,
A Colorado Limited Liability Co.

%AM

Loui l-lard, Nlanager of
113 0 Smith Rd LLC

